Case 25-30155 Document 80-30 Filed in TXSB on 05/14/25 Page 1 of 8

EXHIBIT 30
Case 25-30155 Document 80-30 Filed in TXSB on 05/14/25 Page 2 of 8

After recording, return to:

THE WEAVER LAW FIRM

DOC# mase

FASTER

12/06/2024 4207P":

*esho0 Munoz

L. BRANDON STEIHHAHN» COUNTY CLERY

1800 Bering Drive, Suite 1050 WONTGOHERY © UGHTYs TEA
Houston, Texas 77057
STATE OF TEXAS §

§

COUNTY OF MONTGOMERY §

Date:

Secured Obligations:

Deed of Trust:

Substitute Trustees:

Substitute Trustees’ Address:

Foreclosure Sale:
Date:

Time:

Place:

Terms of Sale:

NOTICE OF FORECLOSURE SALE

December 6, 2025

Promissory Note (“Note”), dated April 1, 2022, executed by
Alliance Farm and Ranch LLC (“Borrower”), as maker, and payable
to the order of Erik C. Ostrander and Darla Ostrander
(“Beneficiary”), as lender, in the original principal amount of
$3,800,636.00, and all extensions, renewals, replacements, and
amendments thereof.

Deed of Trust, dated April 1, 2022, executed by Borrower, as
grantor, to Brent A. Lane, as trustee, for the benefit of Beneficiary,
as lender, recorded as Clerk’s File No. 2022043837 in the Official
Public Records of Real Property of Montgomery County, Texas.

Richard D. Weaver and/or Len E. Walker

1800 Bering Drive, Suite 1050
Houston, Texas 77057

Tuesday, January 7, 2025

The sale of the Property (as defined in the Deed of Trust) (such sale
is the “Foreclosure Sale”) will take place between the hours of 10:00
a.m. and 1:00 p.m. local time, the earliest time at which the
Foreclosure Sale will be is 10:00 a.m.

Montgomery County Courthouse, at the following location: Old
1936 Courthouse at 301 N. Main St., Conroe, Texas 77301, or if the
preceding area is no longer the designated area, the area as
designated by the Montgomery County Commissioners Court.

The Foreclosure Sale will be conducted as a public auction, and the real
property, more particularly described in Exhibit “A”, will be sold to the

EXHIBIT 1 Page tor’
Case 25-30155 Document 80-30 Filed in TXSB on 05/14/25 Page 3 of 8

highest bidder for cash, except that Lender’s bid may be by credit
against the indebtedness secured by the lien of the Deed of Trust.

Default has occurred in the payment of the Note and in the performance of the obligations
of the Deed of Trust. Because of that default, Beneficiary, the current owner and holder of the
Note, has requested Substitute Trustee to sell the Property.

Therefore, notice is given that on and at the Date, Time, and Place of Sale described above,
Substitute Trustee will sell the Property by public sale to the highest bidder for cash in accordance
with the Deed of Trust

Assert and protect your rights as a member of the armed forces of the United States.
If you are or your spouse is serving on active military duty, including active military du
a_member of the Texas National Guard or the National Guard of another state or_as a
member of a reserve component of the armed forces of the United States, please send written
notice of the active duty military service to the sender of this notice immediately.

THIS INSTRUMENT APPOINTS THE SUBSTITUTE TRUSTEE(S) IDENTIFIED TO SELL
THE PROPERTY DESCRIBED IN THE SECURITY INSTRUMENT IDENTIFIED IN THIS
NOTICE OF SALE THE PERSON SIGNING THIS NOTICE IS THE ATTORNEY OR
AUTHORIZED AGENT OF THE MORTGAGEE OR MORTGAGE SERVICER.

SUBSTITUTE TRUSTEE:

SSS lee

Richard D. Weaver

SUBSTITUTE TRUSTEE:
CK £ Ade
efi E. Walker
STATE OF TEXAS §
§
COUNTY OF HARRIS §

This instrument was acknowledged before me on this gi day of December 2024, by
Richard D. Weaver, as Substitute Trustee, and Len E. Walker, as Substitute Trustee.

oy, GUADALUPE PRICILLA LEON ce

3m ie a Notary Public, State of Texas Jetary Publicin and for the State of Texas
&., ia Comm. Expires 08-14-2027

ROPES — otary ID 134506202

EXHIBIT 1 Page 20r7

to
tay,
Ss 28 i
a:

Case 25-30155 Document 80-30 Filed in TXSB on 05/14/25 Page 4 of 8

EXHIBIT “A”

ALL THAT CERTAIN 72.9553 ACRE TRACT OF LAND SITUATED IN THE
MATTHEW CARTWRIGHT SURVEY, ABSTRACT NO. 151 AND THE ARCHIBALD
HODGE SURVEY, ABSTRACT NO. 18, MONTGOMERY COUNTY, TEXAS, BEING
OUT OF AND A PART OF THAT CERTAIN CALL 363.560 ACRE TRACT
DESCRIBED IN DEED FILED FOR RECORD IN VOLUME 720, PAGE 857 OF THE
DEED RECORDS OF MONTGOMERY COUNTY, TEXAS; SAID 72.9553 ACRE
TRACT BEING THE SAME PROPERTY DESCRIBED IN WARRANTY DEED FILED
FOR RECORD UNDER MONTGOMERY COUNTY CLERK'S FILE (MCCEF) NO.
2004-038793 AND BEING MORE PARTICULARLY DESCRIBED BY METES AND
BOUNDS AS FOLLOWS:

BEGINNING AT AN IRON ROD FOUND IN THE SOUTH LINE OF SAID MATTHEW
CARTWRIGHT SURVEY AND THE NORTH LINE OF THE THOMAS CURRY
SURVEY, ABSTRACT NO. 1136, MONTGOMERY COUNTY, TEXAS, AT AN ANGLE
POINT IN THE WOODFOREST PARTNERS, LP. TRACT (MCCE NO. 2006-103723)
FOR THE SOUTHEAST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 89°45'07" WEST ALONG A COMMON LINE WITH SAID
WOODFOREST PARTNERS TRACT, A DISTANCE OF 1348.18 FEET TO A POINT
AT THE NORTHWEST CORNER OF LOT 30, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, A SUBDIVISION INMONTGOMERY COUNTY, TEXAS,
ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CABINET 3,
SHEET 132 OF THE MAP RECORDS OF MONTGOMERY COUNTY, TEXAS;

THENCE NORTH 89°49'39" WEST ALONG THE NORTH LINE OF MONTGOMERY
TRACE, SECTION 4, AT A DISTANCE OF 2448.64 FEET PASS AN IRON ROD
FOUND AT THE NORTHWEST CORNER OF LOT 1, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, AND CONTINUE FOR A TOTAL DISTANCE OF 2478.64 FEET
TO A P.K. NAIL SET IN THE CENTERLINE OF HONEA EGYPT ROAD (A 60-FOOT
ROADWAY EASEMENT) AND IN THE EAST LINE OF SAID ARCHIBALD HODGE
SURVEY AND THE WEST LINE OF SAID MATTHEW CARTWRIGHT SURVEY
FOR THE SOUTHWEST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 03°40'36" WEST ALONG THE CENTERLINE OF HONEA EGYPT
ROAD, A DISTANCE OF 119.01 FEET TO A P.K. NAIL SET AT AN ANGLE POINT;
THENCE NORTH 05°23'38" WEST CONTINUING ALONG THE CENTERLINE OF
HONEA EGYPT ROAD, A DISTANCE OF 470.21 FEET TO A P.K. NAIL SET AT THE
BEGINNING POINT OF A CURVE TO THE LEFT, HAVING A RADIUS OF 231.06
FEET;

THENCE IN A NORTHWESTERLY DIRECTION CONTINUING ALONG THE

CENTERLINE OF HONEA EGYPT ROAD WITH SAID CURVE TO THE LEFT,
HAVING A RADIUS OF .231.06 FEET, AN ARC LENGTH OF 86.50 FEET TO A P.K.

EXHIBIT 1 Page of7
Case 25-30155 Document 80-30 Filed in TXSB on 05/14/25 Page 5 of 8

ALL THAT CERTAIN 72.9553 ACRE TRACT OF LAND SITUATED IN THE
MATTHEW CARTWRIGHT SURVEY, ABSTRACT NO. 151 AND THE ARCHIBALD
HODGE SURVEY, ABSTRACT NO. 18, MONTGOMERY COUNTY, TEXAS, BEING
OUT OF AND A PART OF THAT CERTAIN CALL 363.560 ACRE TRACT
DESCRIBED IN DEED FILED FOR RECORD IN VOLUME 720, PAGE 857 OF THE
DEED RECORDS OF MONTGOMERY COUNTY, TEXAS; SAID 72.9553 ACRE
TRACT BEING THE SAME PROPERTY DESCRIBED IN WARRANTY DEED FILED
FOR RECORD UNDER MONTGOMERY COUNTY CLERK'S FILE (MCCF) NO.
2004-038793 AND BEING MORE PARTICULARLY DESCRIBED BY METES AND
BOUNDS AS FOLLOWS:

BEGINNING AT AN IRON ROD FOUND IN THE SOUTH LINE OF SAID MATTHEW
CARTWRIGHT SURVEY AND THE NORTH LINE OF THE THOMAS CURRY
SURVEY, ABSTRACT NO. 1136, MONTGOMERY COUNTY, TEXAS, AT AN ANGLE
POINT IN THE WOODFOREST PARTNERS, LP. TRACT (MCCF NO. 2006-103723)
FOR THE SOUTHEAST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 89°45'07" WEST ALONG A COMMON LINE WITH SAID
WOODFOREST PARTNERS TRACT, A DISTANCE OF 1348.18 FEET TO A POINT
AT THE NORTHWEST CORNER OF LOT 30, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, A SUBDIVISION IN MONTGOMERY COUNTY, TEXAS,
ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CABINET 3,
SHEET 132 OF THE MAP RECORDS OF MONTGOMERY COUNTY, TEXAS;

THENCE NORTH 89°49'39" WEST ALONG THE NORTH LINE OF MONTGOMERY
TRACE, SECTION 4, AT A DISTANCE OF 2448.64 FEET PASS AN IRON ROD
FOUND AT THE NORTHWEST CORNER OF LOT 1, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, AND CONTINUE FOR A TOTAL DISTANCE OF 2478.64 FEET
TO A P.K. NAIL SET IN THE CENTERLINE OF HONEA EGYPT ROAD (A 60-FOOT
ROADWAY EASEMENT) AND IN THE EAST LINE OF SAID ARCHIBALD HODGE
SURVEY AND THE WEST LINE OF SAID MATTHEW CARTWRIGHT SURVEY
FOR THE SOUTHWEST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 03°40'36" WEST ALONG THE CENTERLINE OF HONEA EGYPT
ROAD, A DISTANCE OF 119.01 FEET TO A P.K. NAIL SET AT AN ANGLE POINT;
THENCE NORTH 05°23'38" WEST CONTINUING ALONG THE CENTERLINE OF
HONEA EGYPT ROAD, A DISTANCE OF 470.21 FEET TO A P.K. NAIL SET AT THE
BEGINNING POINT OF A CURVE TO THE LEFT, HAVING A RADIUS OF 231.06
FEET;

THENCE IN A NORTHWESTERLY DIRECTION CONTINUING ALONG THE

CENTERLINE OF HONEA EGYPT ROAD WITH SAID CURVE TO THE LEFT,
HAVING A RADIUS OF.231.06 FEET, AN ARC LENGTH OF 86.50 FEET TO A P.K.

EXHIBIT 1 Page sor"
Case 25-30155 Document 80-30 Filed in TXSB on 05/14/25 Page 6 of 8

NAIL SET AT THE SOUTHWEST CORNER OF THE DONALD ALLAN STEFAN
AND LINDA C. STEFAN TRACT (MCCF NO. 2000-017069) FOR THE NORTHWEST
CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 85°42'15" EAST ALONG THE SOUTH LINE OF SAID STEFAN
TRACT, AT A DISTANCE OF 32.17 FEET PASS AN IRON ROD FOUND IN THE
LINE OF HONEA EGYPT ROAD, AND CONTINUE FOR A TOTAL DISTANCE OF
3915.91 FEET TO AN IRON ROD FOUND IN A COMMON LINE WITH SAID
WOODFOREST PARTNERS TRACT FOR THE NORTHEAST CORNER OF THE
HEREIN DESCRIBED TRACT;

THENCE SOUTH 00°8'28" WEST ALONG SAID COMMON LINE WITH SAID

WOODFOREST PARTNERS TRACT, A DISTANCE OF 976.15 FEET TO THE POINT
OF BEGINNING AND CONTAINING 72.9553 ACRES OF LAND.

MORE COMMONLY KNOWN AS: 5450 HONEA EGYPT ROAD, MONTGOMERY,
TEXAS 77316.

EXHIBIT 1 Page 9 0f7
Case 25-30155 Document 80-30 Filed in TXSB on 05/14/25 Page 7 of 8

Doc #: 2025001866
Pages 10

E-FILED FOR RECORD
01/07/2025 04:09PM

County Clerk,
Montgomery County, Texas

STATE OF TEXAS,

COUNTY OF MONTGOMERY

| hereby certify that this instrument was e-filed in the file number
sequence on the date and time stamped herein

by me and was duly e-RECORDED in the Official Public
Records of Montgomery County, Texas.

01/07/2025

County Clerk,
Montgomery County, Texas

EXHIBIT 1 Page 907
Case 25-30155 Document 80-30 Filed in TXSB on 05/14/25 Page 8 of 8

Doc #: 2025002370
Pages 16

E-FILED FOR RECORD
01/08/2025 04:41PM

County Clerk,
Montgomery County, Texas

STATE OF TEXAS,

COUNTY OF MONTGOMERY

| hereby certify that this instrument was e-filed in the file number
sequence on the date and time stamped herein

by me and was duly e-RECORDED in the Official Public
Records of Montgomery County, Texas.

01/08/2025

County Clerk,
Montgomery County, Texas

EXHIBIT 1 Page 70r7
